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                                                                                    FILED
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division                            DEC 2 0 2019

   In re: ZETIA (EZETIMIBE)                                                     NnRPrSl?
   ANTITRUST LITIGATION                                                   ""



                                                                 MDL NO. 2:18md2836



   THIS DOCUMENT RELATES TO:
   ALL CASES




                            MEMORANDUM OPINION AND ORDER


          These   matters    come   before   the   court    on   Motions       to   Dismiss


   filed by the Merck Defendants^ and Glenmark Defendants^ against the

   Direct   Purchaser      Plaintiffs'^      (DPPs)   and   Retailer       Plaintiffs'^

   Amended Complaints.

                        I. Claims in Motions to Dismiss


          As an initial matter, a brief accounting of the claims made

   in the Motions to Dismiss is appropriate. The Merck Defendants'



          - The Merck Defendants consist of Merck                &   Co., Inc.; Merck
   Sharp & Dohme Corp.; Schering-Plough Corp.; Schering Corp.; and
   MSP Singapore Co. LLC.

          2 The Glenmark Defendants consist of Glenmark Pharmaceuticals,
   Ltd.     and   Glenmark  Pharmaceuticals   Inc.,   USA,   the  latter
   incorrectly identified as Glenmark Generics Inc., USA.

          3 The   Direct    Purchaser   Plaintiffs    consist        of   FWK   Holdings,
   LLC; Rochester Drug Cooperative, Inc.; and Cesar Castillo, Inc.

        ^ The Retailer Plaintiffs consist of CVS Pharmacy, Inc.; Rite
   Aid Corporation and Rite Aid Hdqtrs. Corp.; and Walgreen Co., The
   Kroger Co., Albertsons Companies Inc., and HEB Grocery Company
   L.P.
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   Motion to Dismiss New Claims and Allegations in Direct Purchaser

   Plaintiffs'       Amended    Consolidated         Class     Action     Complaint,       ECF

   No. 353, which the Glenmark Defendants joined, ECF No. 355, seeks

   dismissal of the DPPs' Amended Complaint ''to the extent DPPs seek

   to recover under federal law for alleged overcharges on purchases

   made from any entity other than Glenmark or Merck." ECF No. 354

   at 4.     The   Glenmark      Defendants'         Motion     to    Dismiss         Retailer


   Plaintiffs' Amended Complaints, ECF No. 498, seeks dismissal of

   the   Retailer     Plaintiffs'       Amended Complaints "in            their       entirety

   because    they    are   founded      on    the    existence      of   an       implausible

   conspiracy involving Merck, Glenmark, and Par that is not supported

   by    well-pled     factual        allegations,"      or,    in    the      alternative,

   dismissal "for        lack   of     standing      insofar    as   they      seek    damages

   flowing from Retailers Plaintiffs' purchases of generic Zetia from

   Par," as well as dismissal of "Retailer Plaintiffs' per se claim

   in Count One with prejudice consistent with the Court's August 9,

   2019 opinion." ECF No. 499 at 2-3. Finally, the Merck Defendants'

   Motion to Dismiss New Claims and Allegations in Retailers' Amended

   Complaints      and   to     Strike       Immaterial      Reference      to       Permanent

   Injunctive Relief, ECF No. 500, seeks dismissal of the Retailers'

   Amended    Complaints        "to    the    extent     they     allege       a     three-way

   conspiracy among Merck, Glenmark, and Par, and to the extent they

   seek damages under the Sherman Act from Merck and Glenmark for

   alleged overcharges Retailers paid to Par," ECF No. 501 at 4, and
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   requests    the    court       to    strike     '^the     references        to    ^permanent

   injunctive    relief         in     the    introductory      sections       of    Retailers'

   Amended Complaints," Id. at 4 n.3.

          In order to overcome a motion to dismiss, a plaintiff alleging

   an    antitrust    conspiracy         must    submit      pleadings     that       ''raise    a

   reasonable    expectation           that    discovery       will   reveal        evidence    of

   illegal agreement." Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

   556    (2007).    "[A]       conclusory      allegation       of    agreement       at     some

   unidentified point" does not show an illegal agreement. Id. at 557.

   While the court must "construe factual allegations in the light

   most    favorable       to    the     plaintiff,"         Harrison     v.    Westinqhouse

   Savannah River Co., 176 F.3d 776, 783 (4th Cir. 1999), it does not

   assume the validity of the plaintiffs' legal conclusions, Ashcroft

   V. Iqbal, 556 U.S. 662, 678 (2009).

                            II. Current Procedural Posture


          On August 29, 2019, these matters were referred to United

   States     Magistrate        Judge        Douglas    E.    Miller     pursuant       to     the

   provisions    of    28       U.S.C. §       636(b)    and    Federal    Rule       of     Civil

   Procedure    72(b),      to    conduct       necessary      hearings,       including       the

   hearing that was held on September 23, 2019, and to submit to the

   undersigned       district        judge      proposed       findings        of     fact,     if

   applicable,       and    recommendations            for    the     disposition       of     the

   Motions. Referral Order, ECF No. 570.
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          By copy of the Magistrate Judge's Report and Recommendation

   C'R&R"), filed on October 15, 2019, the parties were advised of

  their    right     to    file    written     objections        to    the   findings   and

   recommendations made by the Magistrate Judge within fourteen (14)

  days from the date of service of the R&R on the objecting party.

  R&R at 34-35, EOF No. 698. Two sets of objections were filed on

  October 28, 2019: Retailer Plaintiffs' Objections to Report and

  Recommendation          Regarding      Motions          to     Dismiss     (''Retailers'

  Objections"),      EOF    No. 705;     and    Objections        by    Direct   Purchaser

  Class    Plaintiffs       to     the   Report     and        Recommendation     Granting

  Defendants' Motions to Dismiss Direct Purchaser Class Plaintiffs'


  Amended Consolidated Class Action Complaint ("DPPs' Objections"),

  EOF No. 706. On November 12, 2019, counsel for the Merck Defendants

  and     the   Glenmark      Defendants       filed       Defendants'       Response   to

  Plaintiffs'      Objections       to   the    Magistrate         Judge's    Report    and

  Recommendation Granting Defendants' Motions to Dismiss New Claims

  and Allegations in Plaintiffs' Amended Complaints ("Defendants'

  Response"). ECF No. 715.

          Pursuant    to    Rule    72(b)      of   the    Federal      Rules    of   Civil

  Procedure, the court, having reviewed the record in its entirety,

   hereby makes a          novo determination of those portions of the R&R

  to which the Defendants have specifically objected. See Fed. R.

  Civ. P. 72(b). The court may accept, reject, or modify, in whole

  or in part, the recommendation of the Magistrate Judge, or recommit
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   the matter to him with instructions. 28 U.S.C. § 636(b) (1). Because

   the Retailers' Objections and DPPs' Objections make substantially

   similar arguments, this Memorandum Opinion and Order will address

   both sets of objections together.

        III. Defendants' Ability to Form an Antitrust Conspiracy

         The Retailer Plaintiffs and DPPs first object to the R&R's

   conclusion that Par ''lacked the capacity to engage in concerted

   action with respect to the antitrust harm alleged in the Amended

   Complaints." Retailers' Objs. at 3; DPPs' Objs. at 8; R&R at 16.^

   In   particular,     the     objections      contend     that   the   R&R       erred   in

   applying Copperweld Corp. v. Indep. Tube Corp, 467 U.S. 752 (1984),

   to   the   facts    of   this    case,      and   that   its    conclusion       on     the

   conspiracy issue is inconsistent with FTC v. Actavis, 570 U.S. 136

   (2013). The court will consider the application of each of these

   cases to the facts at bar.


  A.     Application of the Copperweld Doctrine and Par's Capacity to
         Participate in the Conspiracy

         The basic premise of Copperweld is the Supreme Court's holding

  that a      parent corporation         and   its   wholly owned subsidiary are

   unable to enter into an antitrust conspiracy with each other under

  § 1    of    the    Sherman      Act   because     they    constitute        a    "single




         ^ The existence of an antitrust conspiracy is a threshold
  element in claims under either Sherman Act § 1 or § 2. 15 U.S.C.
  § 1; Dickson v. Microsoft Corp., 309 F.3d 193, 202 (4th Cir. 2002) .
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   enterprise'' with ''complete unity of interest." 467 U.S. at 771.

   The Retailer Plaintiffs and DPPs focus on the R&R's application of

   Copperweld         in   concluding     that   Par     did     not   participate      in   the

   alleged antitrust conspiracy.                 The    DPPs and Retailer          Plaintiffs

   essentially         make   two   claims      regarding      the     R&R's     treatment    of

   Copperweld. First, they argue that the R&R erred in applying the

   Copperweld rule to Par and Glenmark, because Par and Glenmark are

   two independent entities that do not share a parent-subsidiary

   relationship. DPPs' Objs. at 8; Retailers' Objs. at 3-4. Second,

   the    DPPs   and Retailer       Plaintiffs state that the             R&R's    conclusion


   that Par lacked the capacity to conspire with Glenmark or Merck is

   incorrect because it relied on a mistaken Copperweld analysis. Id.

          The DPPs and Retailer Plaintiffs may be correct in their first

   claim, i.e., that Copperweld does not bar a finding of conspiracy

   between       two legally and financially unrelated companies.                        Their

   second claim, however, is based on an incorrect reading of the

   R&R. Copperweld does not play the dispositive role in the R&R's

   analysis of the conspiracy issue that the Plaintiffs claim it does.

   The R&R consistently refers to Copperweld as an illustration of a

   type of functional approach common in antitrust law, and not as a

   rule    to    be    mechanically       and    conclusively          applied    to   Par   and

   Glenmark.       See      R&R   at 13   ("The        Supreme    Court's        decisions   in

   Copperweld         and     American     Needle       illustrate        this     functional
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   approach."^). Instead, the R&R's analysis in Part III.A, that the

   Amended   Complaints          do    not '^establish              that       Par   entered     into    an

   antitrust conspiracy with Merck and Glenmark," focuses on the fact

   that    Par    was    not    a     party       to    a     conspiracy         that    produced       the

   particular antitrust harm at issue in this case. See R&R at 10,

   15. On this point, the R&R is clear: ''In this case, the antitrust

   harm resulted from Glenmark dropping its patent challenge after

   securing first-filer status and the resulting period of generic

   exclusivity.''        Id.     at       16.     The       R&R     does       borrow       Copperweld's

  "independent center of decisionmaking" language to make the point

   that, on the facts alleged in the Amended Complaints, Par did not

   and could not influence the settlement negotiations between Merck

   and    Glenmark.      See     id.      at 17        ("As    Glenmark's            distributor.       Par

   possessed      no    independent          ability          to    influence         the    market     for

  ezetimibe because it had no competing product to withhold from the

   market.       In    short.       Par    was     not        an    'independent            center[]     of

  decisionmaking.'"             (quoting         Copperweld,             467   U.S.     at 769)).       The

   R&R's   conclusion          that       "Par    lacked           the   capacity       to    engage     in

   concerted      action       with       Merck    and      Glenmark"          thus     turned   on     the


  factual        allegations         in    the     Amended           Complaints,         not,    as     the




        ^ In American Needle, Inc. v. National Football League, 560
   U.S. 183 (2010), the Supreme Court rejected NFL teams' argument
  that, because they acted through a joint venture, their conduct
  was that of a "single economic enterprise" under Copperweld.

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   Plaintiffs         claim,    a     mistaken     application        of    the     Copperweld

   doctrine.


   B.    Par's Participation in the Antitrust Conspiracy

         On     the       question     of    whether,     as   a    factual       matter.       Par

   participated in the alleged conspiracy, the R&R did not find any

   allegation         that    Par     was    specifically      involved      in     Glenmark's

   agreement to drop the patent challenge, which is the source of the

   alleged antitrust harm. R&R at 17. Instead, the R&R concluded that,

   to the extent Par was involved in the negotiations that ended up

   causing the alleged antitrust harm, it did so merely as Glenmark's

   ^'agent." Id. at 18.

         In     this      court's      view,    the   Amended       Complaints          meet    the

   threshold         of    establishing        "'plausible      grounds"      to        infer    an

   agreement. See          Twombly, 550 U.S. at 556 ("Asking for plausible

   grounds      to    infer    an     agreement    does     not    impose     a    probability

   requirement at the pleading stage; it simply calls for enough fact

   to   raise    a     reasonable      expectation      that       discovery       will    reveal

  evidence of illegal agreement.").                   The Amended Complaints contain

  detailed allegations of Par's role in concluding a settlement with

   Merck. See Retailers' Amend. Compl. at SI 132, ECF Nos. 455, 456,

   457; DPPs Amend. Compl. at SI 178, ECF No. 315. That is not to say

  that those allegations are necessarily true, and a few parts of

  the record can be read to support either interpretation of Par's

  actual      influence        over    the     settlement      agreement.         For    example.
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   Section 9.2.2 of the Distribution Agreement, which the Plaintiffs

   point    to   as    evidence      that     Par   was    an    equal      partner       in   the

   settlement       negotiations,      also     appears        to    give    Glenmark      final

   decision-making power if there is even the slightest disagreement

   in strategy. But in deciding on a motion to dismiss, the court

   must accept facts alleged in the Amended Complaints as true and

   view those facts in the light most favorable to the Plaintiffs.

   See, e.g., Venkatraman v. REI Sys., Inc., 417 F.3d 418, 420 (4th

   Cir. 2005). In doing so, this court concludes that the allegations

   in the record lead to the conclusion that Par was an independent

   participant in the conspiracy, and not a mere ''agent" of Glenmark.

   The actual nature and extent of Par's involvement in and influence


   over the settlement negotiations is a matter to be fleshed out

   during discovery.

           The R&R makes the related conclusion that, in addition to not

   being a co-conspirator in fact. Par could not have                              been    a co-

   conspirator      for     reasons    of   market     structure.          R&R   at 16-18.      As

   Glenmark's distributor, the R&R reasons. Par had "no independent

   ability to influence the market for ezetimibe because it had no

   competing product to withhold from the market." Id. at 17. In this

   case,    where     the    alleged   antitrust harm           was   an    illegal     reverse

   payment settlement, the R&R states that Par essentially had                                  no

   power    to   cause      the   antitrust    harm:      it   had    no    suit   of   its    own
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   challenging Merck's patents, and it had not sought to force early

   generic entry. Id.

          To the extent these passages from the R&R suggest a conclusion

   that Par must have had the ability to influence the market in the

   same way, or to the same degree, as Glenmark in order to be a co-

   conspirator,            the       court      does     not    agree    with    such    conclusion.

   Antitrust law takes a broader view of the sorts of activities that


   can    make    a    party          a    co-conspirator         under    the    Sherman     Act.    An

   antitrust conspirator need not be involved in all aspects of the

   conspiracy, for example. See Beltz Travel Serv., Inc. v. Int'l Air

   Transp. Ass'n, 620 F.2d 1360, 1367 (9th Cir. 1980) (''Participation

   by    each    conspirator               in   every    detail     in    the    execution     of    the

   conspiracy         is    unnecessary            to    establish       liability.");       Meredith

   Corp. V. SESAC LLC, 1 F. Supp. 3d 180, 213 (S.D.N.Y. 2014) ("To be

   held   a     part of          a    conspiracy,        a     conspirator      need   not   know    all

   dimensions of the wrongful conduct taken in its furtherance.").

   Likewise, a conspirator need not have exactly the same motives or

   goals as its co-conspirators. See Dickson v. Microsoft Corp., 309

   F.3d 193, 205 (4th Cir. 2002); In                            re Electronic Books Antitrust

   Litigation,        859        F.    Supp.      2d    671,    684-685,   690    (S.D.N.Y.     2012)

   (denying a         motion          to dismiss against Apple               even      though it had

   different interests, motivations, and role in the conspiracy than

   other defendants). And a party can still be a proper antitrust

   defendant      even           if       it    joined    the     conspiracy      later      than    its


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   co-conspirators. See In re Electronic Books Antitrust Litigation^

   859 F. Supp. 2d at 689.

           The question of whether Par entered into an agreement with

   Merck and Glenmark that led to the alleged antitrust harm is a

   factual one, and at this stage, the court must not go beyond the

   allegations in the Amended Complaints to make what it views as

   conclusory inferences from the industry structure."^

   C.    Rimless Wheel


           The DPPs' and Retailers' Objections indirectly address the

   R&R's    conclusion   that     the   alleged   conspiracy     constitutes      a

   ''rimless   wheel."   See    Retailers'    Objs.    at 6    ("The    fact   that

   affiliated conspirators may be incapable of forming a conspiracy

   by   themselves   does   not    prevent    them    from    forming   a   single

   conspiracy with a third party."). This issue was directly discussed

   in the briefing on the Motions to Dismiss,^ and the relationship

   between Merck and Par features throughout the parties' Objections.

   See Retailers' Objs. at 6; DPPs' Objs. at 9, 11, 15. Accordingly,

   the court briefly discusses the "rimless wheel" concept here.



            The court notes that Copperweld and American Needle involved
   appeals from a trial verdict and grant of summary judgment,
   respectively, not of a motion to dismiss. See Copperweld, 567 U.S.
   at 758; American Needle, 560 U.S. at 188.

        ^ In that briefing, the Defendants argued that the Amended
   Complaints did not contain allegations of an agreement between
   Merck and Par, and only alleged agreements between Glenmark and
   Merck, and Glenmark and Par. See Merck-DPP Mot. Dis. Memo, at 8,
   ECF No. 354.


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          Under   Fourth     Circuit      law,   so-called     ""rimless     wheel"

   conspiracies—in which ""spoke" defendants have a common agreement

   with   a ""hub" defendant, but not with each           other—are      not valid

   antitrust conspiracies. See Dickson, 309 F.3d at 203 (""[A] rimless

   wheel conspiracy is not a single, general conspiracy but instead

   amounts to multiple conspiracies between the common defendant and

   each of the other defendants."). Often, ""[t]he question whether

   the evidence shows a single conspiracy or multiple conspiracies,

   however, is one of fact and is properly the province of the jury."

   United States v. Leavis, 853 F.2d 215, 218 (4th Cir. 1988); see

   also United States v. Banks, 10 F.3d 1044, 1051 (4th Cir. 1993)

   (restating the ""basic proposition" that the issue of single vs.

   multiple conspiracies is an issue for the jury).

          Even though the Amended Complaints clearly do not focus on

   the relationship between Merck and Par, they do include sufficient

   allegations to plead a single agreement without being conclusory.

   See DPP Amend. Compl. at SI 268 (referring to Merck's ""settlement

   with     Glenmark   and   Par");    Retailers'     Amend.   Compl.      at SI 154

   (referring to meetings between representatives of Merck, Glenmark,

   and Par). The Defendants emphasize that Par was not a signatory to

   the Settlement Agreement, and have argued that this fact ""means

   that Par cannot be a co-conspirator of Merck's as to the claims

   raised    here."    Merck-DPP   Mot.    Dismiss,   at 16-17.    But     while   a


   Settlement Agreement, as a contractual instrument, is evidence of


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   an agreement to settle, as an antitrust matter, the two are not

   necessarily the same thing. See Sherman Act, 15 U.S.C. § 1 (listing

   contracts,     combinations,     and    conspiracies       as    lists   of   possible

   agreements in violation of the antitrust laws); American Tobacco

   Co.   V.    United    States,   328    U.S.      781,   809    (1946)    (''No    formal

   agreement is necessary to constitute an unlawful conspiracy.").

          In this court's view, the issue of whether there was a single

   conspiracy — i.e., whether the "wheel" had a "rim" — goes to a

   fundamental factual issue of the case and is exactly what discovery

   and trial are meant to determine. At this stage, the allegations

   in    the   Amended    Complaints      are      sufficient     to   plead     a   single

   agreement between Merck, Glenmark, and Par.

   C.     Conclusion


          This   court   disagrees     with     the   R&R's      conclusion    that "Par

   lacked the capacity to engage in [the] concerted action" that is

   at the core of this matter. Accordingly, the court SUSTAINS the

   Retailers' and DPPs' Objections to the conclusion of Part III.A of

   the R&R, and DENIES the Motions to Dismiss insofar as they seek

   dismissal of those parts of the Amended Complaints that refer to

   a three-way conspiracy between Merck, Glenmark, and Par. However,

   as explained above, the court does not agree with the entirety of




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   the   Plaintiffs'         reasoning,     particularly        with     regards    to    its

   reading of the R&R's treatment of the Copperweld case.®

             IV. Antitrust Standing and the Direct Purchaser Rule

         The Retailer Plaintiffs and DPPs also object to the conclusion

   in Part III.B of the R&R, discussing antitrust standing, that they

   failed to allege an antitrust injury under § 4 of the Clayton Act

   and the direct purchaser rule in Illinois Brick Co. v. Illinois,

   431 U.S. 720 (1977).

         Section 4 of the Clayton Act creates a private cause of action

   for ''any person who shall be injured . . . by reason of anything

   forbidden     in    the    antitrust     laws."    5   U.S.C.    § 15(a)       (emphasis

   added).     Illinois      Brick   interpreted      this      injury    requirement      to

   extend only to an "overcharged direct purchaser, and not others in

   the   chain   of   manufacture      or   distribution." 431         U.S.     at 729.   The


   Illinois Brick rule is not absolute, however. Some circuits have




         ®   Because    the    court   agrees      with   the    DPPs'    and    Retailers'
   objection to Part III.A of the R&R, namely that the Amended
   Complaints plead facts that establish an antitrust conspiracy
   between Par, Merck, and Glenmark, see supra Section III.A of this
   Memorandum Opinion and Order, the court will not address their
   argument regarding the applicability of FTC v. Actavis, 570 U.S.
   136, 141 (2013) (holding that "reverse payment settlements . . .
   can sometimes violate the antitrust laws"). See DPPs' Objs. at 13-
   14; Retailers' Objs. at 3-5. As the Plaintiffs read Actavis, the
   Supreme   Court  did   not  question   Par's   involvement   as  a
   co-conspirator where Par, in a similar arrangement to this case,
   "did not file an application of its own [i.e., an ANDA] but joined
   forces with Paddock, agreeing to share the patent litigation costs
   in return for a share of profits if Paddock obtained approval for
   its generic drug." 570 U.S. at 144-45.

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   adopted a ''co-conspirator exception" to Illinois Bricks                      whereby

   indirect purchasers may sue an upstream antitrust violator, if the

   intermediary was involved in the antitrust conspiracy. See, e.g.,

   Paper Sys. Inc. v. Nippon Paper Indus., 281 F.3d 629, 631-32 (7th

   Cir. 2002); Lowell v. American Cyanamid Co., 177 F.3d 1228, 1231

   (11th    Cir. 1999); Campos v. Ticketmaster Corp., 140 F.3d 1166,

   1171 (8th Cir. 1998); Arizona v. Shamrock Foods Co., 729 F.2d 1208,

   1211 (9th Cir. 1984). These circuits allowing such an exception

   interpret Illinois Brick to "allocate to the first non-conspirator

   in    the   distribution   chain       the    right   to   collect     100%   of   the

   damages."     Paper   Systems,    281    F.3d    at 632.       The   Fourth   Circuit

   rejected     this   approach,    and    explicitly      declined      to   adopt   the

   co-conspirator exception in Dickson, 309 F.3d at 215. However, the

   court in Dickson raised the possibility that the co-conspirator

   exception may be appropriate in price-fixing conspiracies where

   the overcharge has been completely passed on to the consumer. Id.;

   discussed infra at 16.


           Citing the direct purchaser rule, the R&R concluded that the

   Retailer Plaintiffs and DPPs are barred from recovering damages

   resulting from overcharges in their purchases of generic ezetimibe

   from Glenmark or Merck, because the Retailer Plaintiffs and DPPs

   bought their ezetimibe from Par, which in turn                       bought it from

   Glenmark, rendering them indirect purchasers. R&R at 22-23. The

   R&R    further   concluded      that    Par    set    prices    according     to   its


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   "'independent      pricing     decision," foreclosing        the    possibility of

   applying the price-fixing exception raised in Dickson. R&R at 23;

   id. at 26-27 (citing Dickson, 309 F.3d at 215) .

         The Retailer Plaintiffs and DPPs raise a number of objections

   to the R&R's conclusion that their claims against Glenmark are

   barred by the direct purchaser rule, none of which have merit.

   First, the Plaintiffs cite to the price-fixing exception to the

   direct purchaser rule raised in Dickson, and interpret it to extend

   to all situations where the "overcharge has been passed on to the

   consumer." 309 F.3d at 215; Retailers' Objs. at 9; DPPs' Objs.

   at 19-20. As a legal matter, the Fourth Circuit has never approved

   a price-fixing exception to the direct purchaser rule, much less

   an    exception        that    extends   to    all   instances       of    passed-on

   overcharges. In discussing the possibility of such a price-fixing

   exception,       the   court   in   Dickson   made   clear   that    it "need    not

   resolve" the issue of whether the exception exists, but was merely

   raising     it    for    discussion      purposes.    309    F.3d     at 215.    The

   Plaintiffs' Objections also do not point to any case applying its

   aggressive interpretation of Dickson.

         But even if there is a price-fixing or passed-on overcharge

   exception to the direct purchaser rule, the factual allegations in

   this case do not show that the alleged overcharges were, in fact,

   entirely passed on to the Plaintiffs. As the R&R notes, this is

   not    an   alleged       price-fixing        conspiracy;     Par    was    "solely


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   responsible          for   establishing        its       selling    prices."      R&R    at 26;

   Distribution         Agreement      at SI 3.1,       ECF    No. 666-1.       Moreover,        the

   payment structure suggests that Par absorbed some of the overcharge

   amount.        The    Distribution       Agreement         between       Glenmark      and    Par

   provides for three different payments from Par to Glenmark: a per-

   unit purchase price of the manufacturing cost plus shipping; a

   one-time payment to Glenmark of $15,000,000; and a payment equal

   to    a    specified       percentage     of     Par's      net    profits       on   sales    of

   ezetimibe. See Distribution Agreement at SISl 4.2.1, 5.1. While the

   at-cost purchase price supports the contention that the overcharge

   was       entirely    passed       on,   the     other     two     payments      do    not.    In

   particular, the profit splitting provision suggests that a portion

   of the overcharge was incurred by Par; mathematically, the larger

   the overcharge, the more money Par owed to Glenmark. See generally

   Apple, Inc. V. Pepper, 139 S. Ct. 1514, 1523 (2019) (dismissing

   the difference between commission pricing and markup pricing as

   ''immaterial") .

             In   any   event,     determining          whether       the   overcharges         were

   entirely        absorbed      by    consumers        would       require     a    complicated

   economic analysis of which parties incurred the overcharges and

   whether        the   payments      in    § 5.1      of    the     Distribution        Agreement

   accounted for         these    overcharges. The            court in       Dickson     observed

   that this is "the exact analysis that Illinois Brick forbids" for

   purposes of the antitrust standing analysis. 309 F.3d at 215; see


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   Illinois Bricks       431 U.S. at 737 (^'Permitting the use of pass-on

   theories under [§] 4 essentially would transform treble-damages

   actions into massive efforts to apportion the recovery among all

   potential     plaintiffs      that   could   have     absorbed      part   of   the

   overcharge . . . .").

         Finally, the DPPs argue that the recent Supreme Court case,

   Apple V. Pepper, overrules Dickson^ s interpretation of the direct

   purchaser rule. DPPs' Objs. at 16. Apple involved a suit brought

   by retail purchasers of iPhone applications ("apps"), who sued

   Apple over allegations that it "unlawfully used its monopoly power

   to force iPhone owners to pay Apple higher-than-competitive prices

   for apps." Apple, 139 S. Ct. at 1520. Under the applicable pricing

   scheme, app developers created and set prices for the apps. Id. at

   1519. The developers paid Apple an annual fee and a 30% commission

   for the right to sell their apps through Apple's App Store, and

   consumers bought the apps directly from Apple via the App Store.

   Id. The issue before the Court was whether the consumer-plaintiffs

   were direct purchasers under Illinois Brick. Apple, 139 S. Ct.

   at 1519.     In   ruling   that they    were,   the   Court   rejected     Apple's

   theory "that Illinois Brick allows consumers to sue only the party

   who   sets    the    retail   price."   Apple,    139   S.    Ct.    at 1521.   In

   particular, the DPPs cite the Court's statement that "'those who

   are    the        immediate   buyers     from     the    alleged       antitrust

   violators . . . may sue.'" DPPs' Objs. at 15 (quoting Apple, 139


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   S. Ct. at 1521). The DPPs reason that, because Par was an antitrust

   violator    from    whom      the    DPPs    directly         purchased         ezetimibe,         the

   result    in    Apple     requires        that    their    case      be    permitted          to    go

   forward. DPPs' Objs. at 16.

         Apple does not so require. If anything, the case emphasizes

   that the       proper   defendant for the Plaintiffs' claims                           regarding

   overcharges incurred in their purchases from Par is Par itself.

   Specifically,       the    Court      in     Apple       repeatedly        emphasized             that

   antitrust       suits   are    permitted          only    between         neighbors          on    the

   distribution chain, even if there are multiple antitrust violators

   situated    at different points              on    the    chain.         139 S. Ct. at 1521

   (''[I]f manufacturer A sells to retailer B, and retailer B sells to

   consumer C, then C may not sue A. But B may sue A if A is an

   antitrust       violator.      And    C     may    sue    B    if    B     is    an    antitrust

   violator."); id.        ("'The iPhone owners pay the alleged overcharge

   directly       to   Apple.          The     absence       of        an     intermediary             is

   dispositive."); id. at 1522 (''[U]nder the [statutory] text, direct

   purchasers from monopolistic retailers are proper plaintiffs to

   sue those retailers.").

         Under applicable Supreme Court and Fourth Circuit precedent,

   the DPPs and Retailer Plaintiffs are barred from pursuing claims

   against    Merck    and     Glenmark        for    damages       resulting            from    their

   purchases      of ezetimibe         from    Par,    because       they     were       not direct

   purchasers from Merck or Glenmark with respect to those purchases.


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   Accordingly, this court OVERRULES the objections to Part III.B of

   the R&R, and DISMISSES the claims in the Retailer Plaintiffs' and

   DPPs' Amended Complaints insofar as they seek damages from Merck

   and Glenmark stemming from purchases made from Par.^o

           V. Per Se § 1 Claim and Reference to Permanent Injunctive
                                     Relief


          The R&R also recommends that the per se § 1 claim in Count

   One of the Retailers' Amended Complaints should be dismissed with

   prejudice, and that the reference to ''permanent injunctive relief"

   should be stricken from T 1 of the Retailers' Amended Complaints.

   R&R at 10 n.7,    34. In   their Objection, the Retailer Plaintiffs

   incorporate their previous objections to dismissing the per se

   claim, contained in EOF No. 235, for purposes of preserving their

   appellate rights, but add no new arguments. Retailers' Objs. at 2

   n.2.   The   Retailer   Plaintiffs    do   not   object     to    striking   the

   "permanent    injunctive    relief"       language   from        their   Amended

   Complaints. This court previously ordered that the per se § 1 claim

   in the Retailer Plaintiffs' original complaints be dismissed with

   prejudice in its Opinion of August 9, 2019. EOF No. 489 at 10.

          For the reasons stated in the R&R and in this court's Opinion

   of August 9, 2019, the court DISMISSES WITH PREJUDICE the per se

   § 1 claim in Count One of the Retailers' Amended Complaints and



          This Memorandum Opinion and Order is limited to the claims
   addressed herein and does not address any of the other claims
   involved in this case. See supra Section I.

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   STRIKES the reference to ""permanent injunctive relief" in SI 1 of

   Retailers' Amended Complaints.

                                             VI. Conclusion


           The court, having reviewed the record in its entirety, having

   examined the          Objections        to the R&R, and      having    made ^ novo

   findings       with    respect         thereto,    hereby   SUSTAINS   IN    PART   and

   OVERRULES       IN    PART       the    Retailer    Plaintiffs'    Objections,      EOF

   No. 705,       and    the   Direct      Purchaser    Plaintiffs'    Objections,     EOF

   No. 706. Specifically, the court ADOPTS the R&R's recommendations

   and conclusions, EOF No. 698, with the exception of the alternative

   legal        reasoning      in    Part     III.A.    Accordingly,      the   Glenmark

   Defendants'          and    Merck      Defendants'     Motions    to   Dismiss,     EOF

   Nos. 353, 498, 500, are GRANTED, as set forth in this Memorandum

   Opinion and Order. However, the court DENIES Glenmark's request

   ""that the Court dismiss Retailer Plaintiffs' Amended Complaints in

   their entirety because they are founded on the existence of an

   implausible conspiracy involving Merck, Glenmark, and Par." See

   ECF No. 499 at 2. Further, the court DISMISSES WITH PREJUDICE the

   per ^ § 1 claim in Count One of the Retailers' Amended Complaints

   and STRIKES the reference to ""permanent injunctive relief" in T 1

   of the Retailers' Amended Complaints.

           In   sum,    the    court FINDS that the Amended Complaints               plead

   sufficient facts to establish an antitrust conspiracy between Par,

   Glenmark, and Merck with regard to the antitrust harm alleged, but


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   FINDS   that   the    Retailer   Plaintiffs       and     DPPs     are    barred   under


   Illinois Brick from suing Merck and Glenmark for damages resulting

   from their purchases from Par. The Plaintiffs' claims shall proceed

   against     Merck    and   Glenmark   as    outlined       in    the     court's   prior

   Opinions and in this Memorandum Opinion and Order.

         The   Clerk    is DIRECTED      to   send    a   copy     of   this     Memorandum

   Opinion and Order to counsel for all parties.

         IT IS SO ORDERED.
                                                           JsL
                                               Rebecca Beach Smith
                                               Senior United States District Judge
                                         Rebecca Beach Smith
                                         Senior United States District Judge
   December    00,     2019




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